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7
     Attorneys of Record for Plaintiff,
8    Bryan Estrada
9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11

12
     Bryan Estrada,                               Case No. 5:22-cv-362
13

14
                      Plaintiff,                  COMPLAINT
15

16

17                    v.
18

19   Diamante Insurance Services, Inc.;
20
     Fernando Anzo; William H. Harty and
     Does 1-10, inclusive,
21

22
               Defendants.
23

24

25

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28                                          -1-
29
                                          COMPLAINT

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1
                               NATURE OF THE ACTION

2                 1.    This is an action seeking to remedy unlawful discrimination by
3    the Defendants against the Plaintiff in the Defendants’ places of public
4    accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
5    12101, et seq.] (the “ADA”).
6

7
                                          PARTIES
8
                  2.    Plaintiff, Bryan Estrada, is a paraplegic resident of the state of
9
     California, County of Riverside, who requires the use of a wheelchair for mobility
10
     purposes and who is therefore a “person with a disability” within the meaning of
11
     the ADA and Cal. Government Code § 12926.
12
                  3.    The Defendants (defined below) discriminate against
13

14
     people with mobility disabilities in the full and equal enjoyment of the goods,

15   services, facilities, privileges, advantages, or accommodations on the basis of their
16   mobility disability at the Subject Property (defined below) in violation of the ADA
17   [42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
18                4.    The Defendant’s failure to make reasonable modifications in
19   policies, practices, or procedures when such modifications are necessary to afford
20   goods, services, facilities, privileges, advantages, or accommodations to
21
     individuals with disabilities prevented people with mobility disabilities from
22
     enjoying fair and equal access to the Subject Property (defined below) in violation
23
     of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
24
                  5.    Defendant, Diamante Insurance Services, Inc., owns, operates,
25
     or leases real property located at 802 W 6th St, Corona, CA 92882, also known as
26
     Riverside County Assessor’s Parcel No. 110-101-001 (the “Subject Property”).
27

28                                           -2-
29
                                           COMPLAINT

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1
                   6.     Defendant, Fernando Anzo, owns, operates, or leases

2    real property located at 802 W 6th St, Corona, CA 92882, also known as Riverside
3    County Assessor’s Parcel No. 110-101-001 (the “Subject Property”).
4                  7.     Defendant, William H. Harty, owns, operates, or leases
5    real property located at 802 W 6th St, Corona, CA 92882, also known as Riverside
6    County Assessor’s Parcel No. 110-101-001 (the “Subject Property”).
7
                   8.     The Subject Property is a commercial facility open to the
8
     general public, is a public accommodation, and is a business establishment insofar
9
     as goods and/or services are made available to the general public at Diamante
10
     Insurance thereat. Defendant Does 1 through 10, inclusive, are sued herein under
11
     fictitious names. Their true names and capacities are unknown to the Plaintiff.
12
     When their true names and capacities are ascertained, Plaintiff will amend this
13

14
     complaint by inserting their true names and capacities herein. Plaintiff is informed

15   and believes and thereon alleges that each of the fictitiously named Defendants are
16   responsible in some manner for the occurrences herein alleged, and that the harm
17   to Plaintiff herein alleged were proximately caused by those Defendants.
18

19                              JURISDICTION AND VENUE
20                 9.     This Court has jurisdiction over the subject matter of this action
21
     pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
22
     of the ADA.
23
                   10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
24
     based on the fact that the real property that is the subject of this action is located in
25
     this district and the Plaintiff’s causes of action arose in this district.
26

27

28                                             -3-
29
                                             COMPLAINT

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1
                                  STATEMENT OF FACTS

2                 11.    Parking spaces, accessible aisles, paths of travel, signage,
3    doorways, service counters, customer areas and goods/services are among the
4    facilities, privileges and advantages offered by the Defendants to patrons of the
5    Subject Property.
6                 12.    The Subject Property does not comply with the minimum
7
     requirements of the ADA and is therefore not equally accessible to persons with
8
     mobility disabilities.
9
                  13.    In September, 2019 and continuously from that time to the
10
     Present, and currently, the Subject Property has not been in compliance with the
11
     ADA (the “Barriers”):
12
                         A.      The parking space and access aisle provided at the
13

14
     Subject Property is too steep (exceeds 2% slope).

15                       B.      Accessible paths of travel serving the Subject Property
16   contain changes in level greater than ½ inch (13mm) with no compliant curb cuts
17   or curb ramps.
18                       C.      There were no accessible paths of travel from public
19   transportations stops, accessible parking, public streets and sidewalks to the
20   building entrances serving the Subject Property.
21
                  14.    Plaintiff personally encountered one or more of the Barriers
22
     at the Subject Property in September, 2019, including changes in level with no
23
     vertical treatment. The Barriers were located in the rear parking area and in the
24
     front and rear entrances.
25
                  15.    Between September, 2019 and the present, the Plaintiff had
26
     personal knowledge of the existence of Barriers at the Subject Property. In
27

28                                            -4-
29
                                            COMPLAINT

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1
     addition to the Barriers, Plaintiff alleges on information and belief based on a

2    visual inspection that the Subject Property contains the following barriers: the main
3    entry doors lack kick plates; the stairways lack handrails and handrail extensions;
4    floor mats are not secured in place; the running slope of the designated
5    handicapped parking space is approximately 4%.
6                 16.   The existence of Barriers, the implementation of discriminatory
7
     policies, practices and procedures, and other ADA violations at the Subject
8
     Property reasonably dissuaded or deterred Plaintiff from accessing the Subject
9
     Property on a particular occasion between September, 2019 and the present.
10
                  17.   On information and belief, the remediation of violations
11
     identified hereinabove, to be identified by the Defendants in discovery, and to be
12
     discovered by Plaintiff’s experts are all readily achievable in that the removal of
13

14
     them by the Defendants is and has been easily accomplishable without much

15   difficulty or expense.
16                18.   Defendants violated the ADA by failing to remove all mobility-
17   related architectural barriers at the Subject Property. On information and belief,
18   Plaintiff alleges that the failure to remove barriers has been knowing, willful and
19   intentional because the barriers described herein are clearly visible and tend to be
20   obvious even to a casual observer and because the Defendants operate the Subject
21
     Property and have control over conditions thereat and as such they have, and have
22
     had, the means and ability to make the necessary remediation of access barriers if
23
     they had ever so intended.
24
                  19.   On information and belief, access barriers at the Subject
25
     Property are being consciously ignored by the Defendants; the Defendants have
26
     knowingly disregarded the ongoing duty to remove the Barriers in compliance with
27

28                                           -5-
29
                                           COMPLAINT

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1
     the ADA. Plaintiff further alleges on information and belief that there are other

2    ADA violations and unlawful architectural barriers at the Subject Property that
3    relate to Plaintiff’s mobility disability that will be determined in discovery, the
4    remediation of which is required under the ADA.
5                 20.    The Subject Property is located approximately fifteen miles
6    from Plaintiff's place of employment, and Plaintiff is in the area regularly and
7
     consistently for personal reasons. Plaintiff hereby seeks to remediate and remove
8
     all barriers related to his mobility disability, whether presently known or unknown
9
     and intends to return to the Subject Property to observe and confirm whether
10
     access barriers have been removed. Plaintiff would benefit from barrier removal
11
     by having the equal opportunity to use the services provided at Diamante Insurance
12
     located at the Subject Property if it were made accessible to him, which he would
13

14
     be inclined to do in the future. Plaintiff is presently deterred from attempting to

15   use the services provided at the Subject Property because of the Barriers.
16                21.    Even if strictly compliant barrier removal were determined to
17   be structurally or otherwise impracticable, there are many alternative methods of
18   providing accommodations that are readily apparent and that could provide a
19   greater degree of accessibility to the Plaintiff and similarly situated persons but for
20   the Defendants’ discriminatory policies, practices and procedures and Defendants’
21
     conscious indifference to their legal obligations and to the rights of persons with
22
     mobility disabilities. Defendants’ failure to implement reasonable available
23
     alternative methods of providing access violates the ADA [42 U.S.C. §
24
     12182(b)(2)(A)(v)].
25
                  22.    The violations and references to code sections herein are not
26

27

28                                            -6-
29
                                            COMPLAINT

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1
     all-inclusive. Plaintiff will amend this complaint to provide a complete description

2    of the full scope of ADA violations after conducting a comprehensive expert site
3    inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
4    that the barriers alleged herein violate one or more of the ADA’s implementing
5    regulations. The Defendants have maintained and continue to maintain
6    discriminatory policies, procedures and practices that disregard their obligations
7
     under the ADA by allocating resources for physical improvements to the Subject
8
     Property that were did not provide legally required accessibility improvements, by
9
     failing to conduct ADA self-inspections or create ADA compliance plans
10
     regarding the Subject Property, by causing alterations to be made to the Subject
11
     Property in disregard of ADA requirements, and for failing and refusing to make
12
     necessary accommodations for persons with mobility disabilities at the Subject
13

14
     Property. Plaintiff seeks a declaration that the Defendants’ disability rights

15   compliance policies, procedures and practices are discriminatory and violate the
16   ADA.
17                             FIRST CAUSE OF ACTION
                              Discrimination Based on Disability
18
                                 [42 U.S.C. §§ 12101, et seq.]
19                            By Plaintiff against all Defendants
20

21                23.    Plaintiff re-alleges and incorporates by reference as though
22   fully set forth herein the allegations contained in all prior paragraphs of this
23   complaint.
24                24.    The ADA obligates owners, operators, lessees and lessors of
25
     public accommodations to ensure that the privileges, advantages, accommodations,
26
     facilities, goods and services are offered fully and equally to persons with
27

28                                            -7-
29
                                            COMPLAINT

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1
     disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §

2    12182(a)].
3                 25.    Discrimination is defined in the ADA, inter alia, as follows:
4                        A.     A failure to remove architectural barriers where such
5    removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
6    barriers are identified and described in the Americans with Disabilities Act
7
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
8
                         B.     A failure to make alterations in such a manner that, to the
9
     maximum extent feasible, the altered portions of the facility are readily accessible
10
     to and usable by individuals with disabilities, including individuals who use
11
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
12
     the altered area and the bathrooms, telephones, and drinking fountains serving the
13

14
     altered area, are readily accessible to and usable by individuals with disabilities [42

15   U.S.C. § 12183(a)(2)].
16                       C.     Where an entity can demonstrate that the removal of a
17   barrier is not readily achievable, a failure to make such goods, services, facilities,
18   privileges, advantages, or accommodations available through alternative methods
19   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
20                       D.     A failure to make reasonable modifications in
21
     policies, practices, or procedures, when such modifications are necessary to afford
22
     such goods, services, facilities, privileges, advantages, or accommodations to
23
     individuals with disabilities, unless the entity can demonstrate that making such
24
     modifications would fundamentally alter the nature of such goods, services,
25
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
26
     12182(b)(2)(A)(ii)].
27

28                                            -8-
29
                                            COMPLAINT

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                 26.    The ADA, the ADAAG’s 1991 Standards (the “1991

2    Standards”) and 2010 Standards (the “2010 Standards”), and the California
3    Building Code (the “CBC”) contain minimum standards that constitute legal
4    requirements regarding wheelchair accessibility at places of public
5    accommodation:
6                       I.    Parking spaces and access aisles shall be level with
7    surface slopes not exceeding 1:50 (2%) in all directions [ADAAG 4.6.3;
8    CBC § 1129B.3].
9
                        B.    Changes in levels along an accessible route greater
10
     than 1/2 in (13 mm) require the provision of a curb ramp, ramp, elevator, or
11
     platform lift [1991 Standards § 4.3.8; 2010 Standards §§ 303.4, 405, and
12
     406].
13
                        C.    At least one accessible route must be provided from
14
     public transportation stops, accessible parking, and accessible passenger
15
     loading zones, and public streets or sidewalks to the accessible building
16
     entrance they serve. The accessible route must, to the maximum extent
17
     feasible, coincide with the route for the general public, must connect
18
     accessible buildings, facilities, elements, and spaces that are on the same
19
     site, and at least one accessible route must connect accessible building or
20
     facility entrances with all accessible spaces and elements and with all
21

22
     accessible dwelling units within the building or facility [1991 Standards

23   §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
24               27.    The Defendants have failed to comply with minimum
25   ADA standards and have discriminated against persons with mobility
26   disabilities on the basis of thereof. Each of the barriers and accessibility
27   violations set forth above is readily achievable to remove, is the result of an
28                                          -9-
29
                                          COMPLAINT

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 1
     alteration that was completed without meeting minimum ADA standards,

 2
     or could be easily remediated by implementation of one or more available
 3   alternative accommodations. Accordingly, the Defendants have violated the
 4   ADA.
 5               28.    The Defendants are obligated to maintain in operable
 6   working condition those features of the Subject Property’s facilities and
 7   equipment that are required to be readily accessible to and usable by
 8   Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
 9   36.211(a)]. The Defendants failure to ensure that accessible facilities at the
10   Subject Property were available and ready to be used by the Plaintiff
11   violates the ADA.
12               29.    The Defendants have a duty to remove architectural
13   barriers where readily achievable, to make alterations that are consistent
14
     with minimum ADA standards and to provide alternative accommodations
15
     where necessary to provide wheelchair access. The Defendants benign
16
     neglect of these duties, together with their general apathy and indifference
17
     towards persons with disabilities, violates the ADA.
18
                 30.    The Defendants have an obligation to maintain policies,
19
     practices and procedures that do not discriminate against the Plaintiff and
20
     similarly situated persons with mobility disabilities on the basis of their
21
     disabilities. The Defendants have maintained and continue to maintain a policy of
22
     disregarding their obligations under the ADA, of allocating resources for
23

24
     improvements insufficient to satisfy legal requirements regarding accessibility

25   improvements, of failing to conduct ADA self-inspections or create ADA
26   compliance plans, of causing alterations to be made to the Subject Property in
27   disregard of ADA requirements, and of failing and refusing to make necessary
28                                          -10-
29
                                          COMPLAINT

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 1
     accommodations for persons with mobility disabilities at the Subject Property, in

 2   violation of the ADA.
 3                31.   The Defendants wrongful conduct is continuing in that
 4   Defendants continue to deny full, fair and equal access to their business
 5   establishment and full, fair and equal accommodations, advantages,
 6   facilities, privileges and services to Plaintiff as a disabled person due to
 7   Plaintiff’s disability. The foregoing conduct constitutes unlawful
 8   discrimination against the Plaintiff and other mobility disabled persons
 9   who, like the Plaintiff, will benefit from an order that the Defendants
10   remove barriers and improve access by complying with minimum ADA
11   standards.
12

13
                                PRAYER FOR RELIEF
14
           Plaintiff prays to this Court for injunctive, declaratory and all other
15
     appropriate relief under the ADA , including but not limited to reasonable
16
     attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
17
     12205.
18
           Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
19         not seek injunctive relief under the Unruh Act or Disabled Persons
20         Act at all by way of this action.
21   Respectfully submitted,
22
     Dated: 02/26/2022               LAW OFFICES OF ROSS CORNELL, APC
23

24

25
                                     By: /s/ Ross Cornell
                                         Ross Cornell, Esq.,
26                                       Attorneys for Plaintiff,
27                                       Bryan Estrada
28                                          -11-
29
                                          COMPLAINT

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